         Case 1:21-mj-00469-RMM Document 13 Filed 06/18/21 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    :
                                             :
        v.                                   : MAGISTRATE NO. 21-MJ-469 (RMM)
                                             :
 BRIAN CHRISTOPHER MOCK,                     :
      Defendant.                             :


                        REPLY TO DEFENDANT’S RESPONSE TO
                           UNITED STATES’ MOTION FOR
                         EMERGENCY STAY AND REVIEW OF
                                 RELEASE ORDER


       The defendant is correct that Munchel requires the government to demonstrate that he

presents a continuing “identified and articulable threat to the community” now that the “specific

circumstances of January 6 have passed.” United States v. Munchel, 991 F.3d 1273, 1282, 1284

(D.D.C. 2021). Such a finding of dangerousness must be predicated on a finding that a defendant

“in fact pose[s] a threat of committing violence in the future.” United States v. Owens, No. 21-

CR-286 (BAH), 2021 WL 2188144, at *6 (D.D.C. May 28, 2021) (citing Munchel, 991 F.3d at

1284). There are three reasons that Mock’s particular circumstances make him a continuing

threat of danger to the community.

       First, Mock’s criminal record. Unlike some of the defendants who engaged in violence on

January 6, Mock has a criminal history. His criminal history involves two separate acts of

violence: holding a gun to kids’ heads and aggressively shouting at them, and shoving a

bystander who tried to help. In Owens, which Mock relies upon heavily in his response, this

Court cited Owens’s spotless criminal record as a mitigating factor weighing in favor of release.

United Owens, 2021 WL 2188144 at *10. The Court also noted that Owens, a 21-year-old


                                                1
         Case 1:21-mj-00469-RMM Document 13 Filed 06/18/21 Page 2 of 4




college student, did not have a history of violence. Id. The same cannot be said for Mock.

        Mock’s criminal history sets him apart from other cases on which he relies, as well. This

Court noted that none of the three defendants in Gossjankowski, Blair, and Leffingwell, had any

discernible criminal or violent history. Owens, 2021 WL 2188144 at *11. Mock’s criminal

record shows that he is capable of engaging in violent activity without the presence of an angry

mob “intent on disrupting a lawful democratic and constitutionally-mandated process,” Owens,

2021 WL 2188144 at *9, because that’s exactly what he did in 2009.

        Second, Mock’s social media posts. It’s true that Mock did not wear tactical gear to the

Capitol, and there is no evidence that Mock brought or carried a dangerous weapon to

Washington D.C. But that does not mean Mock was not intent on engaging in violence. Evidence

on his social media posts, both before and after the riot, show that he planned or at least expected

to engage in violence at the Capitol. Mock said goodbye to his four children and admitted he was

“not sure if [he] was going to come home.” Mock made references to “war” and said he would

“fight with the ferocity and righteousness of a thousand angels…”. He told others on Facebook

to “Fight back, support those who do, get the hell out of the way or prepare to defend yourself.”

It’s clear that Mock expected to—and did—engage in violence at the Capitol. That intention

further sets him apart from the defendants in Owens, Gossjankowski, Blair, and Leffingwell.

Owens, 2021 WL 2188144 at *11. With respect to Owens in particular, this Court found it

noteworthy that Owens did not appear to have come to the Capitol prepared for conflict. Id. at

*8. Mock not only expected and prepared for conflict, he bragged about it on his return home,

telling close associates that he “beat the sh*it out of officers.”

        Mock’s actions on that day also reflect an intention to engage in violence with law

enforcement. “Intentional and purposeful assaultive conduct, particularly involving multiple


                                                   2
         Case 1:21-mj-00469-RMM Document 13 Filed 06/18/21 Page 3 of 4




incidents of directly provocative and aggressive, threatening actions toward police, particularly

combined with verbal threats before, during or continuing after that date, are all indicia of

dangerousness that may warrant pretrial detention.” Owens, 2021 WL 2188144 at *12 (citing

United States v. Padilla, No. 21-214 (JDB), 2021 WL 1751054, at *4–5). Mock’s first assault,

involving shoving and what appears to be kicking, happens quickly and is hard to catch on the

video without slowing it down or watching frame-by-frame. (Government’s Exhibit A at the

original detention hearing). But what happens after the assault is crystal clear and almost just as

alarming. (Id.). Mock stands at the front of an angry mob yelling at officers and pointing,

screaming “Get out! Go.” (Id.). He shouts so aggressively that a fellow rioter felt the need to

hold him back. That rioter holds Mock by the arm to keep him from advancing toward the

officers once more. But that doesn’t stop Mock, he goes back for more a few minutes later and

violently shoves another officer, which is caught on the second body-worn camera clip.

(Government’s Exhibit E at the original detention hearing). That Mock assaulted another officer

almost five minutes after assaulting the first shows that he had time to pause and reflect on his

actions but chose to keep going.

       Third, Mock’s threats to a witness after the riots: Mock threatened the woman who went

with him to the Capitol and told her he would “make her life hell” if she identified him to law

enforcement. He may not have explicitly threatened violence, but taken together with his history

of violent conduct both before and at the Capitol, Mock’s words raise significant concerns about

his willingness and ability to threaten or at least intimidate witnesses.




                                                  3
         Case 1:21-mj-00469-RMM Document 13 Filed 06/18/21 Page 4 of 4




       Mock’s criminal history, social media postings, conduct at the Capitol, and threats to

witnesses all show that is a continued threat to the safety of the community. For all of the reasons

contained in the government’s emergency motion for a stay and for review of the release order,

Mock’s circumstances “warrant this exceptional treatment” of pretrial detention. Munchel, 991

F.3d 1285.


                                       Respectfully submitted,

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